 4:10-cr-03120-RGK-CRZ            Doc # 47   Filed: 12/29/10    Page 1 of 1 - Page ID # 72




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:10CR3120
                                             )
              v.                             )
                                             )        MEMORANDUM AND ORDER
KHADIJA THOMPSON, ARENA                      )
ADANANDUS, and LANESHA                       )
PAXTON,                                      )
                                             )
                     Defendant.              )

        Defendant Lanesha Paxton has moved to continue the pretrial motion deadline currently
set for December 30, 2010. Filing No. 45. Her counsel explains additional time is needed to
review the Rule 16 disclosures for this case. Based on the showing set forth in the defendant
Paxton’s motion, the court finds the motion should be granted.

       IT IS ORDERED:

       1)     The defendant’s motion to continue, (filing no. 45), is granted.

       2)     As to all the defendants herein, defendants’ pretrial motions and briefs shall be
              filed on or before January 21, 2011.

       2)     The ends of justice will be served by granting the motion to continue the pretrial
              motion deadline, and outweigh the interests of the public and the defendant in
              a speedy trial, and the additional time arising as a result of the granting of the
              motion, the time between December 30, 2010 and January 21, 2011, shall be
              deemed excludable time in any computation of time under the requirements of
              the Speedy Trial Act, for the reason that the parties require additional time to
              adequately prepare the case, taking into consideration due diligence of counsel,
              the novelty and complexity of the case, and the fact that the failure to grant
              additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(7)(A) & (B).

       3)     The trial of this case remains set to commence on February 7, 2011 before Judge
              Warren K. Urbom.

              December 29, 2010.                          BY THE COURT:
                                                          s/ Cheryl R. Zwart
                                                          United States Magistrate
